        Case 1:14-ml-02570-RLY-TAB Document 22485 Filed 08/04/22 Page 1 of 1 PageID #:
                                         132697
AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                             for the
                                                Southern District
                                             __________  District of
                                                                  of Indiana
                                                                     __________


          Melissa A. Dyer and Donald Dyer, Jr.                  )
                             Plaintiff                          )
                                v.                              )      Case No.    1:17-cv-00190-RLY-TAB
                  Cook Medical LLC, et al.                      )
                            Defendant                           )

                                              APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          Plaintiffs, Melissa A. Dyer and Donald Dyer, Jr.                                                             .


Date:          08/04/2022                                                               /s/ Jonathan A. Knoll
                                                                                         Attorney’s signature


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